                Case 1:16-cr-02006-EFS                    ECF No. 704               filed 08/15/17        PageID.2825 Page 1 of 7
                                                                                                                                    FILED IN THE
 2$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                         U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                        EASTERN DISTRICT OF WASHINGTON



                                                                                                                           Aug 15, 2017
                                              81,7('67$7(6',675,&7&2857                                                     SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
              TYSON JAMES COURCHANE                                          &DVH1XPEHU           1:16CR02006-EFS-7

                                                                             8601XPEHU            16244-046

                                                                                    Richard A. Smith
                                                                             'HIHQGDQW¶V$WWRUQH\


  ✔ *Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)

 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     One of the Superseding Information
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                       Offense Ended Count
21 U.S.C. § 841(a)(1), (b)(1)             Conspiracy to Distribute Methamphetamine                                                      02/22/16   *1ss
   (B)(viii) and 846




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                       7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G              Any remaining counts                                G LV      ✔
                                                                              G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               8/10/2017
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                                         PHQW




                                                             6LJQDWXUHRI-XGJH




                                                             The Honorable Edward F. Shea                         Senior Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                                                    8/15/2017
                                                             'DWH
                                                             
             Case 1:16-cr-02006-EFS                    ECF No. 704         filed 08/15/17          PageID.2826 Page 2 of 7
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   7
'()(1'$17 TYSON JAMES COURCHANE
&$6(180%(5 1:16CR02006-EFS-7


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI        30 month(s)

 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter




   ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
   G
 Placement at FCI Sheridan, Oregon
 Participation in the Residential Drug Abuse Program (RDAP) while in custody


   G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP         RQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   ✔ 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
   G
       G     EHIRUHSPRQ                                              

       ✔ DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
       G
       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


                                                                           %\
                                                                                                   '(387<81,7('67$7(60$56+$/
              Case 1:16-cr-02006-EFS                 ECF No. 704       filed 08/15/17        PageID.2827 Page 3 of 7
$2% 5HY   -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                        -XGJPHQW²3DJH   3    RI        7
'()(1'$17 TYSON JAMES COURCHANE
&$6(180%(5 1:16CR02006-EFS-7
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI           4 year(s)




                                                     MANDATORY CONDITIONS
   <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
   <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ
   <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
            G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
               SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
    ✔
      G <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
     G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
         GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
         DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
     G <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

<RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
SDJH
             Case 1:16-cr-02006-EFS                     ECF No. 704      filed 08/15/17        PageID.2828 Page 4 of 7
$2% 5HY    -XGJPHQWLQD&ULPLQDO&DVH
                        6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        7
'()(1'$17 TYSON JAMES COURCHANE
&$6(180%(5 1:16CR02006-EFS-7

                                        STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
      ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
    ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
   ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDW\RXSD\LQDFFRUGDQFH
      ZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW<RXVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLF
      FLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\DQ\XQSDLGDPRXQWRIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW V6LJQDWXUH                                                                                    'DWH
            Case 1:16-cr-02006-EFS                     ECF No. 704    filed 08/15/17        PageID.2829 Page 5 of 7
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                     -XGJPHQW²3DJH     5      RI       7
'()(1'$17 TYSON JAMES COURCHANE
&$6(180%(5 1:16CR02006-EFS-7

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must complete a mental health evaluation and follow any treatment recommendations of the evaluating professional which do
 not require forced or psychotropic medication and/or inpatient confinement, absent further order of the court. You must allow
 reciprocal release of information between the supervising officer and treatment provider. You must contribute to the cost of treatment
 according to your ability to pay.

 2. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises may be
 subject to search.

 3. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 4. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 5. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain from alcohol and
 must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in order to
 confirm continued abstinence from this substance.
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$2% 5HY  -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                             -XGJPHQW²3DJH       6    RI        7
 '()(1'$17 TYSON JAMES COURCHANE
 &$6(180%(5 1:16CR02006-EFS-7
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                  JVTA Assessment*                     Fine                        Restitution
 TOTALS             $        $100.00            $         $0.00                      $          $0.00            $
                                                                                                                               $0.00


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                     .$QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

     Name of Payee                                                             Total Loss**             Restitution Ordered      Priority or Percentage




                                                                  0.00                                       0.00
 TOTALS                              $                                           $


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUH WKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRU WKH           G ILQH         G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH        G      UHVWLWXWLRQLVPRGLILHGDVIROORZV

   -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
    )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO
$2%     Case 1:16-cr-02006-EFS
            5HY -XGJPHQWLQD&ULPLQDO&DVH    ECF No. 704         filed 08/15/17      PageID.2831 Page 7 of 7
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      7     RI       7
'()(1'$17 TYSON JAMES COURCHANE
&$6(180%(5 1:16CR02006-EFS-7

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G    /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                   RU
           G     LQDFFRUGDQFH          G &           G '   G     (RU    G )EHORZRU
B     ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
      G                                                                     G &     G 'RU     ✔)EHORZ RU
                                                                                                 G
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
      Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
      penalties are payable on a quarterly basis of not less than $25.00 per quarter.

      While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
      defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.


 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHURLGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW
 &RXUW$WWHQWLRQ)LQDQFH32%R[6SRNDQH:$

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQW  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQG
FRXUWFRVWV
